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5                           UNITED STATES DISTRICT COURT
                          NORTHERN DISTRICT OF CALIFORNIA
6                              SAN FRANCISCO DIVISION
7
8
      CONSUMER FINANCIAL PROTECTION
9     BUREAU,
                                                          Case No. 3:22-mc-80214
10
                   Petitioner,
11                                                        MEMORANDUM IN SUPPORT
                   v.                                     OF PETITION TO ENFORCE
12                                                        CIVIL INVESTIGATIVE
      BLOCK, INC.,                                        DEMANDS
13
                   Respondent.
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              The Consumer Financial Protection Bureau (Bureau) petitions this Court for an order
1
2    requiring Block, Inc. (Block) to respond fully to Document Request Nos. 5 and 6 of the civil

3    investigative demand (CID) the Bureau issued to it on August 4, 2020 (2020 CID), (See

4    Declaration of Joyce Chen (Chen Decl.), Exh. A), and Interrogatory Nos. 24, 25, 27, and 29,
5    and Document Request Nos. 13, 14, 15, and 18 of the CID the Bureau issued to it on August
6
     6, 2021 (2021 CID). Chen Decl., Exh. C.
7
              The Consumer Financial Protection Act of 2010 (CFPA) gives the Bureau authority
8
     to issue CIDs and to enforce them in federal district court. 12 U.S.C. §§ 5562(c)(1), (e)(1).
9
10   CIDs are a type of investigative, administrative subpoena. The Bureau may initiate a

11   proceeding to enforce a CID by filing a petition in the federal district court where the CID

12   recipient “resides, is found, or transacts business” for an order to enforce the CID. 12 U.S.C.
13   § 5562(e)(1); 12 C.F.R. § 1080.10(b)(1). Because the Bureau has authority to issue the 2020
14
     CID and the 2021 CID, and this Court has authority to enforce them, the Bureau respectfully
15
     requests that this Court order Block to show cause as to why it should not be required to
16
     comply with the CIDs and, thereafter, enter an order requiring it to fully respond to
17
18   Interrogatory Nos. 24, 25, 27, and 29, and Document Request Nos. 5, 6, 13, 14, 15, and 181

19   of the 2020 CID and the 2021 CID.
20       I.       Statement of Facts
21
              Block is a multi-billion dollar global corporation that self-identifies primarily as a
22
     technology company. It has two primary “ecosystems,” Cash App, which was established as
23
     a mobile payment app for consumers, and Square, which is a payments platform for sellers.
24
25
26
27   1
       The Requests in both the CIDs are sequentially numbered so that, for example, the first Document Request in
     the 2021 CID is Document Request No. 9.
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             In 2020, the Bureau initiated an investigation into Cash App, focusing on potential
1
2    violations of the CFPA’s prohibition on unfair, deceptive, or abusive conduct, 12 U.S.C.

3    §§ 5531, 5536, and the Electronic Fund Transfer Act (EFTA), 15 U.S.C. § 1693 et seq., and

4    its implementing rule, Regulation E, 15 U.S.C. § 1693 et seq., principally 12 C.F.R. §§
5    1005.11 and 1005.6, or 12 C.F.R. §§ 1005.18(d) and 1005.18(e). Chen Decl. ¶5. Pursuant to
6
     that investigation, the Bureau issued the 2020 CID to Block, requesting interrogatories,
7
     written reports, tangible things, and documents, which was duly served by certified mail. Id.
8
     ¶4. In response to Block’s claims of burden, the Bureau modified that CID, including by
9
10   providing extended deadlines, with Block’s complete compliance due by October 14, 2020.

11   Id. ¶¶7-9. Block has still not fully responded to that CID, in particular with respect to

12   Document Request Nos. 5 and 6, and has not provided a certificate of compliance in
13   connection with it. Id. ¶¶11, 13, 25. Such certificates are required by the Bureau’s rules on
14
     investigations. 12 C.F.R. §§ 1080.6(a)(1)(ii), (2)(ii), (3)(ii).
15
             On August 6, 2021, the Bureau served the 2021 CID by email on Block’s counsel,
16
     who was authorized to accept service of it on Block’s behalf, as part of the same
17
18   investigation. Chen Decl. ¶14. After three modifications to account for Block’s claimed

19   burden, the 2021 CID required Block to complete its production in response to
20   interrogatories and requests for written reports and documents by February 14, 2021. Id. ¶19.
21
             Both the 2020 and the 2021 CIDs contained the following Notification of Purpose:
22
                     The purpose of this investigation is to determine whether
23                   financial technology companies or associated persons, in
                     connection with deposit-taking activities, transmitting or
24                   exchanging funds, or otherwise acting as a custodian of funds,
25                   or selling, providing, or issuing stored value or payment
                     instruments, or providing payments or other financial data
26                   processing products or services, have: (1) deprived consumers
                     of access to their funds or failed to adequately address customer
27                   concerns regarding fraud and errors in a manner that is unfair in
                     violation of Sections 1031 and 1036 of the Consumer Financial
28              MEMORANDUM IN SUPPORT OF PETITION TO ENFORCE CIVIL INVESTIGATIVE DEMANDS
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                    Protection Act, 12 U.S.C. §§ 5531, 5536; or (2) failed to follow
1                   the requirements applicable to resolving errors and liability of
2                   consumers for unauthorized transfers in a manner that violates
                    Regulation E, 12 C.F.R. Part 1005, Subpart A, implementing the
3                   Electronic Fund Transfer Act, 15 U.S.C. § 1693 et seq.,
                    principally 12 C.F.R. §§ 1005.11 and 1005.6, or 12 C.F.R. §§
4                   1005.18(d) and 1005.18(e).
5    Id., Exhs. A and C.
6           With respect to the 2020 CID, on August 21, 2020, counsel for the Bureau and Block
7
     met and conferred about that CID in accordance with 12 C.F.R. § 1080.6(c). Id. ¶7. On
8
     August 25, 2021, Block submitted a letter to the Bureau seeking modifications to the 2020
9
     CID. Id. ¶8. On August 31, 2020, the Bureau issued a letter modifying the CID to address the
10
11   concerns raised in Block’s August 25, 2020 letter, including an extension of time in

12   responding to Document Request Nos. 5 and 6 until September 23, 2020, and requiring full
13   compliance with the CID by October 14, 2020. Id. ¶9, Exh. B. Block never filed a petition to
14
     modify or set aside the 2020 CID pursuant to 12 U.S.C. § 5562(f); 12 C.F.R. § 1080.6(e). Id.
15
     ¶10. But Block failed to produce what appears to be a significant number of documents
16
     responsive to Document Request Nos. 5 and 6, including documents that were specifically
17
18   referenced in documents Block did produce; thus, Block has not fully complied with those

19   requests. Id. ¶13. Indeed, Block produced only 372 documents in response to the 2020 CID.

20   Id. ¶11.
21          Counsel for the Bureau and Block met and conferred about the 2021 CID, in
22
     accordance with 12 C.F.R. § 1080.6(c), over the course of three meetings, on August 12, 19,
23
     and 20, 2021. Id. ¶15. On September 2, 2021, Block submitted a letter to Bureau counsel
24
     seeking modification of the 2021 CID, but the letter proposed only certain modifications.
25
26   Block sought extensions of time for all but one of the requests, which it sought to hold in

27   abeyance. For 35 of the requests, it simply said proposals were “to be determined,” or

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     “TBD.” Id. ¶16. Block never filed a petition with the Bureau to modify or set aside the 2021
1
2    CID. Id. ¶17. Following receipt of Block’s September 2, 2021 letter, Bureau counsel

3    embarked on a series of meetings and exchanges of correspondence with Block’s counsel

4    over the course of months to address claimed issues of burden, among other things. Id. ¶18.
5    The Bureau modified the CID three times in response to Block’s claims of burden by letter
6
     on September 16, 2021, October 22, 2021, and December 16, 2021, providing extensions of
7
     time to produce materials in response to the CID and limiting the requests. Id. ¶19, Exhs. D,
8
     E, and F. Pursuant to those modifications, Block was supposed to make full production in
9
10   response to the 2021 CID by December 5, 2021, with the exception of certain data-related

11   requests, not at issue here, which were extended until February 14, 2022. Id. ¶19.

12            One year after the 2021 CID was issued, Block has yet to produce any information in
13   response to Interrogatory Nos. 24, 25, 27, and 29, and Document Request Nos. 13, 14, 15,
14
     and 18. Id. ¶24. The information Block has produced in response to the CIDs has repeatedly
15
     been produced late and is often non-responsive, incomplete, or otherwise deficient, impairing
16
     the Bureau’s ability to conduct a meaningful investigation of Block’s practices. Id. ¶25. From
17
18   the last time the Bureau modified the CID until now, Bureau staff has met with and

19   exchanged multiple letters and communication with Block in an attempt to resolve
20   production issues, including working with Block to identify relevant custodians and search
21
     terms. Id. ¶21. Nevertheless, hiding behind repeated excuses and deflections, and making
22
     repeated assurances that it “hopes” or “expects” or will “endeavor” to produce required
23
     responses at a time “in the near future,” Block’s productions remain outstanding. Id. ¶¶23,
24
25   26-27.

26            Even though the Bureau continued to work with Block when it raised issues of burden

27   well after the ten-day meet and confer period, and even though the Bureau is committed to
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     continuing to work with Block, Block’s repeated pattern of delay must stop. Most recently,
1
2    Block has indicated that it will “endeavor” to begin a rolling production by August 31, 2022.

3    Id. ¶26. But after waiting over a year for the production of any information in response to

4    eight different Requests, the Bureau cannot rely on Block’s tepid assurances about “hoping”
5    or “endeavoring” to respond to outstanding Bureau Requests any longer.
6
               In fact, after more than two years, this multi-billion dollar public company,
7
     responsible for maintaining and moving billions of consumer dollars through the economy,
8
     has managed to produce a total of only 894 documents in response to the Bureau’s two CIDs.
9
10   Id. ¶25.

11             Although Block has failed to fully respond to many of the requests in the 2021 CID,

12   and has not provided the required certificates of compliance for either CID, at this time, the
13   Bureau is seeking enforcement solely with respect to Interrogatory Nos. 24, 25, 27, and 29,
14
     and Document Request Nos. 5, 6, 13, 14, 15, and 18 of the 2020 CID and the 2021 CID, in
15
     an effort to simplify this matter for the Court and to conserve judicial resources.2
16
         II.      The Court Should Enforce the CIDs
17
18             In the Ninth Circuit, “[c]ourts must enforce administrative subpoenas unless the

19   evidence sought by the subpoena is plainly incompetent or irrelevant to any lawful purpose
20   of the agency.” EEOC v. Karuk Tribe Housing Authority, 260 F.3d 1071, 1076 (9th Cir.
21
     2001). A Bureau CID is an administrative subpoena. See, e.g., CFPB v. Great Plains
22
     Lending, LLC, No. CV142090MWFPLAX, 2014 WL 12685941, at *18 (C.D. Cal. May 27,
23
24
25
     2
       Although the Bureau is only seeking to enforce the CIDs with respect to certain Requests at this time, the
26   Bureau reserves its rights to enforce the CIDs with respect to other Requests to which Block has provided
     deficient responses. At this time, the Bureau continues to work with Block to obtain complete responses to
27   those Requests.
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     2014), (granting the Bureau’s petition to enforce a CID, and referring to it throughout as an
1
2    administrative subpoena), aff'd, 846 F.3d 1049 (9th Cir. 2017).

3           “The scope of the judicial inquiry in an … agency subpoena enforcement proceeding

4    is quite narrow. The critical questions are: (1) whether Congress has granted the authority to
5    investigate; (2) whether procedural requirements have been followed; and (3) whether the
6
     evidence is relevant and material to the investigation.” EEOC v. Fed. Exp. Corp., 558 F.3d
7
     842, 848 (9th Cir. 2009) (citations omitted). See also United States v. Morton Salt Co., 338
8
     U.S. 632, 652 (1950).
9
10          After the agency make its prima facie case, “the court must enforce the subpoena

11   unless the objecting party shows that the subpoena is overbroad or that compliance would be

12   unduly burdensome.” EEOC v. McLane Co., 804 F.3d 1051, 1056 (9th Cir. 2015), vacated on
13   other grounds, 581 U.S. 72 (2017). “District courts in this Circuit have adopted the rule of
14
     the Fourth and D.C. Circuits, which define ‘unduly burdensome’ as a demand that threatens
15
     to unduly disrupt or seriously hinder normal operations of a business.” Great Plains Lending,
16
     LLC, 2014 WL 12685941, at *17. Under this adopted standard, “the burden of proving that
17
18   an administrative subpoena is unduly burdensome is not easily met.” Id. (citations omitted).

19          As shown below, the Bureau has the appropriate authority, it followed the required
20   procedures, and the evidence sought by the CIDs is relevant and material to the investigation.
21
     Block cannot show that the CIDs were unduly burdensome. The Court should therefore
22
     enforce the CIDs.
23
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28              MEMORANDUM IN SUPPORT OF PETITION TO ENFORCE CIVIL INVESTIGATIVE DEMANDS
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        A. The Bureau’s CIDs Should Be Enforced Because It Has the Appropriate
1          Authority, Followed the Required Procedures, and Seeks Relevant and Material
2          Evidence

3           The Bureau easily meets the criteria for a prima facie case of CID enforcement. First,

4    “it is well-established that an administrative subpoena is to be enforced unless agency

5    authority is plainly lacking,” Fed. Exp. Corp., 558 F.3d at 851, which is most definitely not
6    the case here. Congress granted the Bureau the authority to investigate in this instance. The
7
     CFPA broadly authorizes the Bureau to investigate violations of federal consumer-financial
8
     laws and to issue a CID to “any person” the Bureau “has reason to believe … may be in
9
     possession, custody, or control of … any information, relevant to a violation.” 12 U.S.C. §
10
11   5562(c). And an agency such as the Bureau “has a power of inquisition … [and] can

12   investigate merely on suspicion that the law is being violated, or even just because it wants
13   assurance that it is not.” Morton Salt Co., 338 U.S. at 642-43.
14
            The violations potentially at issue are within the scope of the Bureau’s authority. As
15
     set forth in the Notification of Purpose in the 2021 CID, the Bureau issued it to determine
16
     whether:
17
18                  financial technology companies or associated persons, in
                    connection with deposit-taking activities, transmitting or
19                  exchanging funds, or otherwise acting as a custodian of funds,
                    or selling, providing, or issuing stored value or payment
20                  instruments, or providing payments or other financial data
                    processing products or services, have: (1) deprived consumers
21                  of access to their funds or failed to adequately address customer
22                  concerns regarding fraud and errors in a manner that is unfair in
                    violation of Sections 1031 and 1036 of the Consumer Financial
23                  Protection Act, 12 U.S.C. §§ 5531, 5536; or (2) failed to follow
                    the requirements applicable to resolving errors and liability of
24                  consumers for unauthorized transfers in a manner that violates
                    Regulation E, 12 C.F.R. Part 1005, Subpart A, implementing the
25                  Electronic Fund Transfer Act, 15 U.S.C. § 1693 et seq.,
26                  principally 12 C.F.R. §§ 1005.11 and 1005.6, or 12 C.F.R. §§
                    1005.18(d) and 1005.18(e).
27
     Chen Decl., Exhs. A and C at 1 (CID Notification of Purpose).
28              MEMORANDUM IN SUPPORT OF PETITION TO ENFORCE CIVIL INVESTIGATIVE DEMANDS
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1            The Bureau’s investigation falls squarely within its authority under the CFPA to
2
     investigate violations of the CFPA and other federal consumer financial laws, including
3
     EFTA, and Regulation E. 12 U.S.C. § 5564(a); 12 U.S.C. §§ 5481(12)(C), (14). Further, the
4
     activities described in the Notification of Purpose -- deposit-taking activities, transmitting or
5
6    exchanging funds, or otherwise acting as a custodian of funds, or selling, providing, or

7    issuing stored value or payment instruments, or providing payments or other financial data

8    processing products or services -- are consumer financial products or services within the
9    Bureau’s scope of authority. 12 U.S.C. § 5531(a), 12 U.S.C. §§ 5481(15)(a)(iv), (vii).
10
     Because Block is engaged in offering or providing consumer financial products or services,
11
     Block is a covered person under the CFPA, and thus subject to the Bureau’s authority. 12
12
     U.S.C. § 5481(6)(a); 12 U.S.C. § 5536(a).3
13
14           Second, the Bureau followed all applicable procedural requirements required by the

15   CFPA and its implementing regulation related to the issuance of a CID. 12 U.S.C. § 5562(c),

16   12 C.F.R. § 1080. Both the 2020 CID and the 2021 CID were issued by a Deputy Assistant
17   Director of the Office of Enforcement, and included a Notification of Purpose advising Block
18
     of the nature of the conduct being investigated. Chen Decl., Exhs. A and C at 1; see 12
19
     U.S.C. § 5562(c)(2); 12 C.F.R. §§ 1080.5, 1080.6(a). The CIDs were duly served. The 2020
20
     CID was served, as required by the CFPA, by certified mail. 12 U.S.C. § 5562(b)(8)(C). The
21
22
23
24   3
       Even if Block were not a covered person, it would still be bound to respond to the Bureau’s CIDs; the
     Bureau’s authority to issue CIDs is broader than its enforcement authority. See 12 U.S.C. § 5562(c)(1)
25   (“Whenever the Bureau has reason to believe that any person may be in possession, custody, or control of
     any documentary material or tangible things, or may have any information, relevant to
26   a violation, the Bureau may, before the institution of any proceedings under the Federal consumer financial
     law, issue in writing, and cause to be served upon such person, a civil investigative demand...”) (emphasis
27   added).
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     2021 CID was served by sending it by email to Block’s counsel, who was authorized to
1
2    accept service of the CID and acknowledged receipt.

3           Third, the information sought is relevant and material to the investigation. Indeed, in

4    the context of administrative subpoena enforcement actions, “[r]elevancy is determined in
5    terms of the investigation rather than in terms of evidentiary relevance.” Fed. Exp. Corp.,
6
     558 F.3d at 854. Indeed, the Ninth Circuit has been clear that “[t]he relevance requirement is
7
     not especially constraining, but is instead generously construed to afford the agency access to
8
     virtually any material that might cast light on the matter under investigation.” United States
9
10   v. Exxon Mobil Corp., 943 F.3d 1283, 1287 (9th Cir. 2019) (citations and quotations

11   omitted). Courts in the Ninth Circuit have generally deferred to a declaration from an agency

12   official “sufficient to demonstrate that the requested records are relevant and material to an
13   ongoing investigation.” United States v. California, No. 18CV2868-L-MDD, 2019 WL
14
     2498316, at *2 (S.D. Cal. Mar. 5, 2019), (citations omitted), petition granted on
15
     reconsideration, No. 18CV2868-L-MDD, 2019 WL 2498318 (S.D. Cal. Mar. 26, 2019).
16
            The CFPA authorizes the Bureau to issue a CID to obtain “any information, relevant
17
18   to a violation” of the federal consumer financial laws. 12 U.S.C. § 5562(c). The requests at

19   issue, and their relevancy and materiality to the Bureau’s investigation, are each generally
20   described below, as attested to by Joyce Chen, senior litigation counsel with the Bureau’s
21
     Office of Enforcement:
22
               Interrogatory No. 24 requests information regarding rate, number, and amount of
23
                chargebacks and Automated Clearing House (ACH) returns for Cash App
24
25              transactions, and is relevant and material to the investigation because it seeks

26              information about, among other things, scope of harm and liability in connection

27              with potential EFTA, Regulation E, and CFPA violations. Chen Decl. ¶29.
28              MEMORANDUM IN SUPPORT OF PETITION TO ENFORCE CIVIL INVESTIGATIVE DEMANDS
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          Interrogatory No. 25 requests information regarding the communications Block
1
2          has had with financial institutions or card networks regarding the handling,

3          investigating, or monitoring of the Block’s chargebacks, ACH return rates, or

4          related metrics, including whether Block was told it was approaching or
5          exceeding any thresholds. It is relevant and material to the investigation because it
6
           seeks information about, among other things, Block’s conduct and knowledge
7
           associated with potential CFPA violations, at least. Id. ¶30.
8
          Interrogatory No. 27 requests the data points, triggers, and other analyses that
9
10         Block has used to determine that activity in a Cash App account warrants

11         freezing, suspending, locking, or blocking a transaction. This information is
12         relevant and material to the investigation because it seeks information about,
13
           among other things, Block’s processes associated with one area that is a focus of
14
           the investigation. Id. ¶31.
15
          Interrogatory No. 29 requests that Block identify all individuals who participated
16
17         in responding to this CID, the current position of each individual, and the specific

18         tasks performed by each individual. This information is relevant and material to

19         the investigation because, among other things, it may assist in the identification of
20         salient witnesses. Id. ¶32.
21
          Document Request Nos. 5 and 6 seek policies, procedures, and training materials
22
           relating to how Block has received, handled, and addressed issues, consumer
23
           complaints, or disputes regarding errors, unauthorized transfers, blocked or frozen
24
25         access to consumer accounts, fraud and identity theft, delayed payment

26         transactions, closing or cancellation of accounts, lost or stolen devices, and
27         limitation of consumer liability. This information is relevant and material to the
28         MEMORANDUM IN SUPPORT OF PETITION TO ENFORCE CIVIL INVESTIGATIVE DEMANDS
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           investigation because, among other things, it seeks information about Block’s
1
2          own stated rules and instructions for addressing a number of the areas of focus of

3          the investigation. Id. ¶33.

4         Document Request No. 13 requests Block’s internal and external communications
5          regarding customer service activities, account takeovers, the exceeding of
6
           chargeback thresholds set by banks or card networks, and audits or other analyses.
7
           This information is relevant and material to the investigation because, among
8
           other things, it seeks information about Block’s conduct and knowledge regarding
9
10         issues of focus in the investigation. Id. ¶34.

11        Document Request No. 14 requests certain communications of Brian Grassadonia,
12         the CEO of Cash App, relating to specified issues of concern in the investigation,
13
           and is relevant and material to the investigation because it provides information
14
           about the CEO’s involvement and understanding of these issues. Id. ¶35.
15
          Document Request No. 15 requests Slack Channel communications regarding
16
17         definitions of data fields relating to customer service and disputes, areas of focus

18         of the investigation. This is relevant and material to the investigation because

19         Block has not provided a data dictionary for its data fields, and a Block official
20         testified that the source for such definitions were Slack Channel communications.
21
           Id. ¶36.
22
          Document Request No. 18 requests audits, analyses, policies, procedures, and
23
           communications regarding chargebacks, customer service activities, and reports
24
25         generated from spreadsheets used by Block in conducting or tracking customer

26         service activities. This is relevant and material to the investigation because it
27         seeks information about one issue of focus in the investigation. Id. ¶37.
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             Because the Bureau has shown, with respect to the 2020 CID and the 2021 CID, that
1
2    it has authority to investigate, the procedural requirements have been followed, and the

3    evidence sought is relevant and material to the investigation, the Bureau has made a prima

4    facie showing that enforcement of the 2020 CID and the 2021 CID is appropriate, at least
5    with respect to Interrogatory Nos. 24, 25, 27, and 29, and Document Request Nos. 5, 6, 13,
6
     14, 15, and 18 of the 2020 CID and the 2021 CID.
7
         B. Block Cannot Rebut the Bureau’s Prima Facie Case for Enforcement
8
             Following this prima facie showing, the burden would shift to Block to demonstrate
9
10   that the CIDs are overbroad or that compliance would be unduly burdensome. McLane Co.,

11   804 F.3d at 1056. Block will not prevail on this point however, because 1) it failed to file a

12   petition to modify or set aside either of the CIDs, and thus has waived its ability to make this
13   showing; and 2) in any event, it could not show that either CID, particularly focusing on the
14
     requests at issue here, are “unduly burdensome.”
15
             While Block has stated, both in meetings and in letters to the Bureau, that it finds the
16
     CIDs burdensome, it never availed itself of its right to petition the Director to modify or set
17
18   aside either CID, on that or any other basis. Under 12 U.S.C. § 5562(f) and 12 C.F.R. §

19   1080.6(e), a respondent may file a petition to modify or set aside the CID within 20 days of
20   service or, if the return date is less than 20 calendar days after service, prior to the return
21
     date. Where a respondent has received notice of an administrative procedure to challenge a
22
     CID, and does not do so, it has waived its ability to raise those arguments in a proceeding to
23
     enforce the CID in federal court. See FTC v. XCast Labs, Inc., No.
24
25   MISC211026MWFMRWX, 2021 WL 6297885, at *3 (C.D. Cal. Dec. 9, 2021) (holding that

26   the defendant had “forfeited its ability to oppose enforcement of the CID in federal court”

27   because it had “received notice of the administrative procedure to challenge the scope and
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     contents of the CID before the FTC… [but] it chose not to avail itself of that remedy”),
1
2    report and recommendation adopted, No. MISC211026MWFMRWX, 2022 WL 60527 (C.D.

3    Cal. Jan. 6, 2022). Here, the administrative procedure to challenge the CIDs existed and

4    Block received notice of it in the CIDs, as part of both the instructions and the Rules on
5    Investigations attached to the CIDs. Chen Decl., Exhs. A and C. Block failed to file such
6
     petitions, and therefore cannot complain of overbreadth or burden now.
7
            But even if the Court entertains any such objections in this case, “unduly
8
     burdensome” is a high standard. Block will have to show that responding to the requests
9
10   would “unduly disrupt or seriously hinder normal operations of [its] business.” Great Plains

11   Lending, LLC, 2014 WL 12685941, at *17. See also EEOC v. Z Foods, Inc., No.

12   109CV02127OWWSMS, 2011 WL 13254378, at *5 (E.D. Cal. Feb. 23, 2011) (holding that
13   this burden is “difficult to meet,” and enforcing the administrative subpoena); EEOC v.
14
     Aaron Bros. Inc., 620 F. Supp. 2d 1102, 1106 (C.D. Cal. 2009) (same). Block is not only an
15
     extremely large company with revenues of over $17 billion in 2021. It is also a technology
16
     company, and therefore should be quite up to the task of searching for and producing
17
18   documents or collecting and providing information about its operations as it relates to the

19   investigation. With such resources and capabilities, Block should have been able to comply
20   with the CIDs long ago, and should not be able to avoid complying now. This is not like the
21
     case, EEOC v. McCormick & Schmick’s, No. C07-80065 WHA, 2007 WL 1430004, at *7
22
     (N.D. Cal. May 15, 2007), where a court took into consideration the fact that restaurants
23
     typically “leanly” staff their management positions in enforcing a more limited request than
24
25   that in the original administrative subpoena. Block is not a medium-sized restaurant chain; it

26   is a highly sophisticated multi-billion dollar data-driven technology corporation. And even if

27
28              MEMORANDUM IN SUPPORT OF PETITION TO ENFORCE CIVIL INVESTIGATIVE DEMANDS
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     it has to go out of its way to comply with the CID, as the court in McCormick & Schmick’s
1
2    stated, a “respondent cannot expect compliance to be painless.” Id.

3              Because the Bureau has demonstrated the criteria to enforce its CIDs, and Block

4    cannot rebut the Bureau’s prima facie case, both because it has waived its right to do so and
5    because it cannot show that it is unduly burdened by complying with the CIDs, the Court
6
     should enforce them.
7
        III.      Conclusion
8
               For the reasons discussed above, the Bureau respectfully requests that the Court order
9
10   Block to show cause as to why it should not be compelled to comply with the 2020 CID and

11   the 2021 CID, and, after hearing from the parties, order Block to fully respond to

12   Interrogatory Nos. 24, 25, 27, and 29, and Document Request Nos. 5, 6, 13, 14, 15, and 18 of
13   the 2020 CID and the 2021 CID, and grant other relief as the Court deems just and proper.
14
15   Dated: August 18, 2022
                                                    Respectfully submitted,
16
                                                    ERIC HALPERIN
17                                                  Enforcement Director
18
                                                    DAVID RUBENSTEIN
19                                                  Deputy Enforcement Director
20                                                  CYNTHIA LESSER
                                                    Assistant Deputy Enforcement Director
21
22                                                  /s/ Joyce Chen____________
                                                    JOYCE CHEN (NY Reg. #4717245)
23                                                  (Appearing per Local Rule 11-2)
                                                    Consumer Financial Protection Bureau
24                                                  1700 G Street, NW
25                                                  Washington, DC 20552
                                                    Phone: 202-702-4226
26                                                  Email: joyce.chen@cfpb.gov

27                                                  Attorneys for Petitioner
                                                    Consumer Financial Protection Bureau
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                                                     14
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                                   CERTIFICATE OF SERVICE
1
2    I hereby certify that on August 18, 2022, I caused a true and correct copy of the document

3    entitled Memorandum in Support of Petition to Enforce Civil Investigative Demands to be

4    served by U.S. mail and e-mail on counsel for Respondent Block, Inc., as follows:
5                  Allyson Baker, Esq.
6                  Paul Hastings LLP
                   2050 M Street NW
7                  Washington, D.C. 20036
                   allysonbaker@paulhastings.com
8
9                                                /s/ Joyce Chen____________
10                                               JOYCE CHEN (NY Reg. #4717245)
                                                 (Appearing per Local Rule 11-2)
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14
                                                 Attorneys for Petitioner
15                                               Consumer Financial Protection Bureau

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